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                  Exhibit A
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                  From: Marni Goldberg Emily Garber
                Subject: Re: Revised deck
           Received(Date): Tue, 19 Oct 2021 10:50:44 -0400
                     Cc: Fred Sainz Emily Garber
                     To: "Boutrous Jr., Theodore J." <TBoutrous@gibsondunn.com>
            Attachment: 101421 Litigation Summit Deck.key
                   Date: Tue, 19 Oct 2021 10:50:44 -0400

           Updated here. Will send these to Mark for his master deck, but will plan to present them
           myself during our talk.



           Marni Goldberg
           Emily Garber

           > On Oct 18, 2021, at 8:08 PM, Boutrous Jr., Theodore J.
           <TBoutrous@gibsondunn.com> wrote:
           >
           > These look great. My only comments: delete the first “e” from “judgement” on slides 9
           and 11. Should be “judgment.”
           >
           > On slide 11 can we add in a cite to and great quote the WSJ editorial?
           >
           > Looking forward to it!
           >
           > Theodore J. Boutrous Jr.
           >
           > GIBSON DUNN
           >
           > Gibson, Dunn & Crutcher LLP
           > 333 South Grand Avenue, Los Angeles, CA 90071-3197 <x-apple-data-
           detectors://1/0>
           > Tel +1 213.229.7804 <tel:+1%20213.229.7804>
           > tboutrous@gibsondunn.com <mailto:TBoutrous@gibsondunn.com>
           >
           > www.gibsondunn.com <http://www.gibsondunn.com/>
           >
           > On Oct 18, 2021, at 2:54 PM, Marni Goldberg Emily Garber
           Emily Garber                            wrote:
           >
           >
           > [WARNING: External Email]
           > Fred and Ted —
           >




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               Case 4:20-cv-05640-YGR           Document 1479-1        Filed 04/22/25      Page 3 of 5



           > Attached, please find a revised deck that reflects the edits we discussed on the phone
           today. I will present the first half, and Ted will take the second half. Please feel free to
           make any other edits you see fit!
           >
           > I will work on my voice over tonight and aim to keep the first half to no more than 12ish
           minutes. Let me know if there is anything else you’d like to discuss!
           >
           > Marni
           >
           >
           >
           > Marni Goldberg
           Emily Garber
           >
           >
           >
           >
           >
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           policy.
           > <101421 Litigation Summit Deck.key>




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           during our talk.




                                                   Marni Goldberg

                                                  Emily Garber

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                  Case 4:20-cv-05640-YGR           Document 1479-1           Filed 04/22/25    Page 4 of 5



                                                    Looking forward to it!

                                                   Theodore J. Boutrous Jr.

                                                        GIBSON DUNN

                                                 Gibson, Dunn & Crutcher LLP

                                     333 South Grand Avenue, Los Angeles, CA 90071-3197

                                                     Tel +1 213.229.7804

                                                 tboutrous@gibsondunn.com


                                          www.gibsondunn.com
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                       Emily Garber                   wrote:


           [WARNING: External Email]



                                                       Fred and Ted —

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                                  Let me know if there is anything else you’d like to discuss!

                                                            Marni




                                                       Marni Goldberg

                                                       Emily Garber


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